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                         ANTHONY THOMAS and WENDI
                     6   THOMAS and AT EMERALD, LLC
                     7
                     8
                     9                                    UNITED STATES BANKRUPTCY COURT
                 10                                                      DISTRICT OF NEVADA
                 11                                                                 —ooOoo—
                 12      In Re:                                                               Case No. BK-N-14-50333-BTB
                                                                                              Case No. BK-N-14-50331-BTB
                 13      ANTHONY THOMAS and                                                   Chapter 11 Cases
                         WENDI THOMAS,
                 14                                                                           [Jointly Administered]
                 15      AT EMERALD, LLC,                                                     OPPOSITION TO MOTION TO
                                                                                              APPOINT CHAPTER 11 TRUSTEE
                 16                                                                           AND JOINDER
                 17                                                                           Hearing Date: August 22, 2014
                                    Debtors.                                                  Hearing Time: 2:00 p.m.
                 18      ______________________________/
                 19                Debtor, AT EMERALD, LLC, a Nevada limited liability company (hereinafter “AT
                 20      Emerald” or “Debtor”), by and through its undersigned counsel, Holly E. Estes, Esq., of the
                 21      Law Offices of Alan R. Smith, hereby files its opposition to John Beach’s Motion To
                 22      Appoint Chapter 11 Trustee [DE 164] (“Motion”) and Kenmark Ventures, LLC Joinder In
                 23      Motion To Appoint Chapter 11 Trustee. This opposition is made and based upon the points
                 24      and authorities set forth below, the Declaration Of Anthony Thomas In Support Of
                 25      Opposition To Motion To Appoint Chapter 11 Trustee, the pleadings and papers on file
                 26      herein, and such other matters as may be presented at the hearing hereon.
                 27      ///
                 28      ///
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                     1                                              POINTS AND AUTHORITIES
                     2   A. Background
                     3             1.         On June 19, 2014, Tony Thomas on behalf of AT Emerald, LLC entered into
                     4   a Purchase and Sale Agreement with the purchaser wherein the purchaser agreed to purchase
                     5   the 21,000 carat emerald matrix (the “Emerald”) for cash, payable at close of escrow.
                     6             2.         As set forth in the Motion To Sell Assets Free And Clear Of Liens And Motion
                     7   to File Purchase and Sale Agreement Under Seal [DE 83], the sale of the Emerald is for cash,
                     8   and the purchase price is sufficient to pay all creditors in this case, as well as all creditors in
                     9   the companion case of ANTHONY THOMAS and WENDI THOMAS, Case No. BK-N-14-
                 10      50333-BTB (the “Thomas Bankruptcy Case”) in full.
                 11                3.         Tony Thomas has been in contact with David Clarke, the Finance Director &
                 12      International Trustee for the purchaser. That Mr. Clarke has informed Mr. Thomas that he
                 13      will not work with a chapter 11 trustee, and that if a trustee is appointed that the purchaser
                 14      will not continue with the sale.
                 15                4.         Tony Thomas is the best person to sell the Emerald because a chapter 11 trustee
                 16      will not be familiar with the buyers who would be interested in purchasing the Emerald, but
                 17      Mr. Thomas is familiar with buyers who would be interested in purchasing the Emerald.
                 18                5.         The purchaser has approved of the sale and agrees to consummate the sale.
                 19                6.         The purchaser has provided proof of funds to consummate the sale and its
                 20      ability to perform.
                 21                7.         Mr. Thomas believes that the sale will close.
                 22                8.         On July 7, 2014, Tony Thomas went to the Sarasota Vault with the purchaser’s
                 23      representative, David Clarke, and an appraiser for the purchaser to inspect the Emerald. On
                 24      July 7, 2014, the above parties inspected the Emerald, and the Emerald in its existing
                 25      condition was approved by the purchaser’s representative.
                 26                9.         Tony Thomas was in contact with John Beach during that visit to the vault, and
                 27      he has kept John Beach apprised of the sale and the events surrounding the sale.
                 28      ///
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                     1             10.        The purchaser has informed Tony Thomas and John Beach that it does not want
                     2   anyone to go to the vault because it does not want to have to reinspect the Emerald.
                     3             11.        On August 8, 2014, Tony Thomas received an email from John Beach granting
                     4   Mr. Thomas a thirty (30) day extension. Because of the thirty (30) day extension granted by
                     5   John Beach, Mr. Thomas did not turnover the key to the Sarasota Vault as Mr. Thomas
                     6   understood that Beach would not need the key for another 30 days.
                     7             12.        Mr. Thomas never intended to violate this court’s order to turnover the key to
                     8   the vault.
                     9             13.        The August 8, 2014 letter from the purchaser to Beach was a “strictly private
                 10      and confidential letter” as set forth in boldface all caps print in the heading of the letter. Mr.
                 11      Beach having introduced this letter into the public record may compromise the sale and upset
                 12      the purchaser.
                 13      B. Legal Argument
                 14                1.         There Is No Basis To Appoint A Trustee Pursuant To 11 U.S.C.
                 15                           §1104(a)(1).
                 16                John Beach (“Beach”) and the John Beach Living Trust dated January 22, 1999 (the
                 17      “Beach Trust”), seek the appointment of a Chapter 11 Trustee under 11 U.S.C. §1104(a)(1)
                 18      for “cause,” alleging that the Debtor has failed to protect the best interest of its creditors by
                 19      failing to maximizing the value of the asset of the estate, and that the Debtor has grossly
                 20      mismanaged its affairs. For the reasons set forth below, the Motion does not establish
                 21      “cause” for the appointment of a Chapter 11 Trustee, and the appointment of a Chapter 11
                 22      trustee is not in the best interest of the estate.
                 23                The appointment of a Chapter 11 trustee is an extraordinary remedy. In re Sovereign
                 24      Estates, Ltd., 104 B.R. 702 (Bankr. E.D. Pa. 1989); In re William A. Smith Constr. Co., Inc.,
                 25      77 B.R. 124 (Bankr. N.D.Ohio 1987); In re Parker Grande Development, Inc., 64 B.R. 557
                 26      (Bankr. S.D. Ind. 1986); Official Creditors’ Comm. v. Liberal Market, Inc., (In re Liberal
                 27      Market, Inc.), 13 B.R. 748, 751 (Bankr. S.D. Ohio 1981); In re Anchorage Boat Sales, Inc.,
                 28      4 B.R. 635 (Bankr. E.D.N.Y. 1980). “The drafters of the Code recognized that, as a general
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                     1   rule, in the absence of fraud, dishonesty, incompetence, gross management, or similar
                     2   grounds, the debtor’s management should be given an opportunity to propose a plan of
                     3   reorganization for the debtor.” 7-1104 Collier on Bankruptcy, P 1104.02[3][b][i] (2009
                     4   Lexis). “For this reason, there is a strong presumption that the debtor should be permitted
                     5   to remain in possession absent a showing of need for the appointment of trustee or a
                     6   significant post-petition change in the debtor’s management.”                        Id.     In re Marvel
                     7   Entertainment Group, Inc., 140 F.3d 463, 471 (3d Cir. 1998).
                     8             The Court retains considerable discretion to determine when evidence of fraud,
                     9   dishonesty, incompetence, mismanagement or other factors are sufficiently serious to
                 10      constitute “cause” requiring the appointment of a trustee. 7-1104 Collier on Bankruptcy, P
                 11      1104.02[3][b][iii] (2009 Lexis). “Exercising this discretion, some courts have held that even
                 12      after a court finds evidence of management’s misbehavior, the court may determine that there
                 13      is insufficient cause to warrant the appointment of a trustee. Id., Committee of Dalkon
                 14      Shield Claimants v. A.H. Robins Co., Inc., 828 F.2d 239 (4th Cir. 1987)(court affirmed the
                 15      district court’s denial of the motion for a trustee even though the debtor in possession had
                 16      made improper post-petition payments to a degree that constituted civil contempt); Schuster
                 17      v. Dragone (In re Dragone), 266 B.R. 268 (D. Conn. 2001).
                 18                Fraud, dishonesty and gross-negligence (incompetence) require fact-sensitive
                 19      determinations concerning types of behavior that would suggest a need to remove the current
                 20      management of the Debtor.                       7-1104 Collier on Bankruptcy, P 1104.02 (2009 Lexis).
                 21      Although the Court is not required to conduct a full evidentiary hearing on the Motion, Beach
                 22      and the Beach Trust have the burden of proof. In re Sovereign Estates, Ltd., 104 B.R. 702
                 23      (Bankr. E.D. Pa. 1989); see In re William A. Smith Constr. Co., Inc., 77 B.R. 124 (Bankr.
                 24      N.D. Ohio 1987); In re Cole, 66 B.R. 75 (Bankr. E.D. Pa. 1986). Most courts have found
                 25      that the evidence supporting a motion for the appointment of a trustee must be clear and
                 26      convincing. Official Comm. Of Asbestos Claimants v. G-I Holdings, Inc. (In re G-I
                 27      Holdings, Inc.), 385 F.3d 313 (3d Cir. 2004); In re Sharon Steel Corp., 871 F.2d 1217, 1226
                 28      (3d Cir. 1989)(citing Treatise); In re St. Louis Globe-Democrat, Inc., 63 B.R. 131 (Bankr.
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                     1   E.D. Mo. 1985); In re Evans, 48 B.R. 46 (Bankr. S.D. Ohio 1985); In re Tyler, 18 B.R. 574
                     2   (Bankr. S.D. Fla. 1982); In re F.A. Potts & Co., 20 B.R. 3 (Bankr. E.D. Pa. 1981). As stated
                     3   by 7-1104 Collier on Bankruptcy, P 1104.01[4][b] (2009 Lexis):
                     4             This reaffirms the view that in general a debtor should be able to remain in
                                   possession of the estate, and the appointment of a trustee is an extraordinary
                     5             remedy to be exercised sparingly. According to the Third Circuit, this “strong
                                   presumption” in favor of leaving a debtor in possession should be construed
                     6             as a restatement under Federal Rule of Evidence 301 that affects the burden of
                                   going forward or the level of proof. Even the absence of factors that normally
                     7             give rise to the presumption does not reduce the moving party’s burden or
                                   proof, because this presumption in favor of a debtor in possession derives from
                     8             the statute, not from the facts of a particular case. (Citations omitted)
                     9             In the present case, Beach and the Beach Trust have not met their burden. Beach and
                 10      the Beach Trust have not provided any evidence of fraud, dishonesty or gross-negligence
                 11      (incompetence) that would suggest a need to remove the current management of the Debtor.
                 12                First, Beach alleges that the Debtor has failed to protect the best interest of creditors
                 13      by failing to maximize the value of the assets of the estate. In fact, the Debtor has done just
                 14      the opposite. Here, the Debtor has entered into an agreement to sell the Emerald for cash,
                 15      and the purchase price is sufficient to pay all creditors in this case, as well as all creditors in
                 16      the companion case of ANTHONY THOMAS and WENDI THOMAS, Case No. BK-N-14-
                 17      50333-BTB (the “Thomas Bankruptcy Case”) in full. Further, the Debtor has received
                 18      confirmation from the purchaser that it has approved the condition of the Emerald and that
                 19      the purchaser is moving forward with consummating the sale. The Debtor has also received
                 20      proof of the purchaser’s ability to perform. Based upon the above, the Beach Trust and
                 21      Beach have clearly not met their burden.
                 22                Second, Beach and the Beach Trust allege that there has been gross mismanagement
                 23      of the Debtor because the Debtor has insisted on preventing Beach and the Beach Trust from
                 24      inspecting the Emerald and because the Debtor has allegedly not kept creditors apprised of
                 25      the sale. Here, Mr. Thomas has limited the access to the vault to preserve the sale which
                 26      would pay all creditors in this case and the Thomas Bankruptcy Case in full. As set forth
                 27      above, the purchaser has already inspected the Emerald and approved the condition that the
                 28      Emerald was in at the time the purchaser inspected it. The purchaser has provided proof of
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                     1   funds to perform, and the purchaser has confirmed that it wants to consummate the sale. The
                     2   purchaser does not wish to reinspect the Emerald before consummating the sale.
                     3   Accordingly, the Debtor has sought to preserve the sale by limiting access to the Emerald so
                     4   that all creditors may be paid in full from the sale proceeds. Further, the Debtor has been in
                     5   contact with John Beach and has kept Beach apprised of current events surrounding the sale.
                     6             2.         A Chapter 11 Trustee Is Not In The Best Interest Of Creditors
                     7             Section 1104(a)(2) provides that the Court shall order the appointment of a trustee “if
                     8   such appointment is in the best interests of creditors, any equity security holders, and other
                     9   interests of the estate, without regard to the number of holders of securities of the debtor or
                 10      the amount of assets or liabilities of the debtor.” 7-1104 Collier on Bankruptcy P
                 11      1104.02[3][d][1] states that:
                 12                The “interests” standard may initially seem less stringent than the “cause”
                                   standard. After all, no showing of wrongful behavior on the part of
                 13                management is required, as long as interested parties can show a meaningful
                                   benefit from the appointment of a trustee. However, it is important to
                 14                remember that the “interests” standard requires a finding that appointment of
                                   a trustee would be in the interest of essentially all interested constituencies.
                 15                Section 1104(a)(2) provides for the appointment of a trustee “if such
                                   appointment is in the interest of creditors, any equity security holders, and
                 16                other interests of the estate.” Use of the word “and” suggests that creditors
                                   cannot on their own obtain the appointment of a trustee under this provision
                 17                in order to disenfranchise equity security holders or other interests. Instead,
                                   appointment of a trustee must be in the interest of the estate generally in order
                 18                to satisfy the statutory “interests” standard. Thus, when equity security holders
                                   or other ownership interests properly and in good faith support the debtor’s
                 19                current management, it will be difficult to obtain an order for the appointment
                                   of a trustee under the “interests” standard, as such an appointment will
                 20                presumably not be in the interest of equity.
                 21                Here, a Chapter 11 trustee is not in the best interests of creditors and the estate. The
                 22      Debtor has a purchaser who is willing to perform on a sale that will pay all creditors in full.
                 23      Further, the manager of the Debtor is familiar with not only this purchaser but other
                 24      purchasers who may be interested in buying the Emerald. A chapter 11 trustee would not
                 25      know the buyers interested in purchasing the Emerald. Accordingly, it is in the best interest
                 26      of creditors and the estate that the Debtor’s current management stay in place and continue
                 27      with the present sale which will pay all creditors in full.
                 28      ///
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                     1                                                          CONCLUSION
                     2             WHEREFORE, based upon the foregoing, the Debtor requests that the Motion be
                     3   denied.
                     4             DATED this 19th day of August, 2014.
                     5                                                                  LAW OFFICES OF ALAN R. SMITH
                     6                                                                  By:     /s/ Holly E. Estes
                                                                                          HOLLY E. ESTES, ESQ.
                     7                                                                    Attorney for Debtors
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